Case 2:18-cv-01811-ER Document1 Filed 04/30/18 Page 1 of 13

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

CHARLES E. THOMAS
9071 Mill Creek Road, Apt. 1501

Levittown, PA 19054 CIVIL ACTION
Plaintiff, ; DOCKET NO:
vv. :
GATEHOUSE MEDIA, LLC | JURY TRIAL DEMANDED

175 Sully’s Trail, 3"! Floor
Pittsford, NY 14534

AND

GATEHOUSE MEDIA PENNSYLVANIA :
HOLDINGS, Inc. d/b/a BUCKS COUNTY :
COURIER TIMES :
175 Sully’s Trail, 3" Floor

Pittsford, NY 14534

Defendants.

 

CIVIL ACTION COMPLAINT

Charles Thomas (hereinafter referred to as “Plaintiff,” unless indicated otherwise), by

and through his undersigned counsel, hereby avers as follows:
INTRODUCTION

1. Plaintiff has initiated this action to redress violations by GateHouse Media, LLC
and GateHouse Media Pennsylvania Holdings, Inc. d/b/a Bucks County Courier Times
(hereinafter referred to as “Defendants,” unless indicated otherwise) for violations of the Age
Discrimination in Employment Act (*ADEA” - 29 U.S.C, §§ 621 ef. seg.), the Americans with
Disabilities Act, as amended ("ADA" - 42 USC §§ 12101 et. seg.), the Family and Medical

Leave Act ("FMLA - 29 U.S.C. §2601 et. seg.), and the Pennsylvania Human Relations Act

 
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(“PHRA”).! Plaintiff asserts, inter alia, that he was unlawfully terminated from Defendants. As a
direct consequence of Defendants’ unlawful actions, Plaintiff seeks damages as set forth herein.
JURISDICTION AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant
to 28 U.S.C, §§1331 and 1343(a)(4) because it arises under laws of the United States and seeks
redress for violations of civil rights under the FMLA, ADEA and the ADA. There lies
supplemental jurisdiction over Plaintiff's future state-law claims because they arise out of the
same common nucleus of operative facts as Plaintiff's federal claims asserted herein.

3, This Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction in order to comply with traditional notions of fair play and substantial justice,
satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.
Washington, 326 U.S, 310 (1945) and its progeny.

A. Pursuant to 28 U.S.C. §1391(b)(1) and (6}(2), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

PARTIES
5, The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult individual, with an address as set forth in the caption.

 

1 Plaintiff's claim under the PHRA is referenced herein for notice purposes. He is required to wait 1 full year before
initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file his lawsuit in advance of
same because of the date of issuance of her federal right-to-sue letter under the ADA and ADEA. Plaintiff's PHRA
claims however will mirror identically his federal claims under the ADA and ADEA.

 

 
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7. Defendant GateHouse Media, LLC is a company in the business of publishing
locally-based media in the United States. As of December 2017, Defendant publishes 142 daily
newspapers, more than 466 community publications and more than 569 local market websites
that reach more than 22 million people each week.

8. Defendant GateHouse Media Pennsylvania Holdings, Inc. d/b/a Bucks County
Courier Times is an affiliate of Defendant GateHouse Media, LLC and operates the Bucks
County Courier Times at the facility at which Plaintiff worked.

9. | Upon information and belief all Defendants overlapped in management and
operations of the location at which Plaintiff worked. Upon further information and belief,
because of their interrelation of operations, common ownership or management, centralized
control of labor relations, common ownership or financial controls, and other factors - during
Plaintiff's employment - Defendants were sufficiently interrelated and integrated in their
activities, labor relations, ownership and management that they may be treated as a single, joint
and/or integrated employer for purposes of the instant action.

10. At all times relevant herein, Defendants acted by and through their agents,
servants and/or employees, each of whom acted at all times relevant herein in the course and
scope of their employment with and for Defendants.

FACTUAL BACKGROUND

11. | The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full,

12,‘ Plaintiff is 58 years old.

13. ‘Plaintiff began working for Defendants’ predecessor, Colkins Media, in

approximately 2005. In the summer of 2017, Defendants’ acquired Colkins Media through the

 
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acquisition of Plaintiffs location. In total, Plaintiff worked for Defendants’ and their predecessor
for approximately 12 years until his termination in September of 2017.

14. During Plaintiff's tenure with Defendants’ and their predecessor, Plaintiff worked
in numerous positions, including as a Photo Editor, Supervisor of the Photo Department for three
publications and as an Anchor/Video Reporter (the position Plaintiff held at the time of his
termination from Defendants).

15. During the relevant time period, Plaintiff's immediate supervisor was Hugh
Haynie and he was indirectly supervised by Shane Fitzgerald.

16. During his employment with both Defendants and their predecessor, Plaintiff
performed his job very well. Furthermore, Plaintiff was very experienced in the field of media
and video/photo editing.

| 17. Plaintiff has and continues to suffer from various disabilities under the ADA,
including but not limited to severe issues with his shoulders for which he requested and took
medical leave for while employed with Defendants.

18. Plaintiff's aforesaid health conditions, at times, limit his ability to perform some
daily life activities, including but not limited to lifting, performing manual labor, and physical
activity and working at times.

19, Despite Plaintiff's aforementioned disabilities and limitations, he was able to
perform the duties of his job well; however, Plaintiff did require reasonable medical
accommodations at times (including time off and light duty).

20. On or about June 27, 2017, Plaintiff requested and took an approximate 30 day
leave of absence to undergo surgery and rehabilitation to his shoulder which was designated by

Defendants as FMLA leave.

 
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21. Prior to taking his leave, Plaintiff made his management, including Mr, Haynie,
aware that he required the leave due to his need for shoulder surgery rehabilitation, as well
Defendants’ HR department. .

22. Indirect response to advising the company of his need for leave, his management,
including Mr. Haynie, began to subject him to hostility based on his need for time off, including
emphasizing that Plaintiffs leave would be a hardship and that Plaintiff would need to get ahead
| of his shoots before going out on leave.

23. Additionally, Mr. Haynie continued to show hostility towards Plaintiff's need for
time off during Plaintiff's leave, including by contacting Plaintiff and requiring that Plaintiff
perform work at times while Plaintiff was still on FMLA leave.

24. Although Plaintiff's doctor recommended that Plaintiff remain out of work for 9
to 12 weeks following his surgery, Plaintiff returned to work after approximately 4 weeks of
leave due to the pressure he was facing to return to work.

25. When Plaintiff returned to work on approximately July 27 of 2017, he was
released to work with lifting restrictions. Those lifting restrictions remained in place through the
time of his termination in September of 2017.

26. On or about September 8, 2017, approximately 5 weeks after returning from his
medical/FMLA leave and requesting reasonable lifting accommodations, Plaintiff was
terminated by Defendants allegedly due to a company-wide reduction in force (“RIF”).

27. At the time of Plaintiff's separation from Defendants, he was the oldest in his
department.

28. Prior to Plaintiff being informed of his termination, Plaintiff's management held a

meeting with Plaintiff and all other members of Plaintiffs department to discuss the possible

 
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RIF. During that meeting, Plaintiff's younger, less experienced co-workers were specifically
assured that they were “safe” and that they would be either retained in their positions or given
new positions within Defendants.

29, Plaintiff was the only person in his department who was not retained and/or
moved into an alternative position even though prior to his termination Plaintiff specifically
offered to work in a lesser role, take less money or to be converted to any available role within
Defendants (including any of the multiple positions Plaintiff held during his 12 year tenure with
Defendants and Defendants’ predecessor). Furthermore, Plaintiff was more experienced than the
younger co-workers who were retrained by the company.

30, Prior to Plaintiffs termination from Defendants, Plaintiff was offered an
unsolicited severance package in exchange for waiving any and all claims he may have.”

31. Upon information and belief, Plaintiff's job duties were assumed by a younger
individual following Plaintiff's termination from Defendants.

32. Therefore, Plaintiff believes and avers that he was terminated from his position
with Defendants due to his age, his actual and/or perceived disabilities, in retaliation for

requesting medical accommodations and/or for requesting and/or exercising his FMLA rights.

 

2 See e.g. Staffierit v. Northwestern Human Servs., 2013 US. Dist. LEXIS 72115 at **14-15 (E.D, Pa. May 22,
2013){an employer who offered severance when policies did not require upon condition of waiving FMLA claim
supported finding of pretext in FMLA claim among other facts); See also Bartlett v. NIBCO Inc., 2011 U.S. Dist,
LEXIS 28072 (N.D. Ind. 2011)("Severance pay packages contingent upon a release of claims which are offered
contemporaneausly with the notice of termination are not covered by [Rule 408]", and the motive in offering same is
admissible evidence in a retaliation claim and is admissible at trial in this case); Karl v. City of Mountlake Terrace,
2011 U.S. Dist. LEXIS 59085 (W.D. Wash. 2011)(severance agreements are admissible in retaliation claims when
made contemporaneous to termination, as they are not governed by FRE 408); EEOC v, Republic Servs., Inc., 640 F,
Supp. 2d 1267 (D. Nev. 2009)(denying summary judgment and considering as evidence in wrongful termination
case that a company would offer severance when an employee is supposedly terminated in a manner that doesn't
warrant severance per an explicit company policy).

 
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First Cause of Action
Violations of the Age Discrimination in Employment Act (“ADEA”)
(Age Discrimination)

33. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

34. At the time of Plaintiff's separation from Defendants, he was the oldest employee
in his department.

35. Prior to Plaintiff being informed of his termination, Plaintiffs management held a
meeting with Plaintiff and all other members of Plaintiff's department to discuss the possible
RIF. During that meeting, Plaintiffs younger, less experienced co-workers were specifically
assured that they were “safe” and that they would be either retained in their positions or given
new positions within Defendants.

36. Plaintiff was the only person in his department who was not retained and/or
moved into an alternative position even though prior to his termination Plaintiff specitically
offered to work in a lesser role, take less money or to be converted to any available role within
Defendants (including any of the multiple positions Plaintiff held during his 12 year tenure with
Defendants and Defendants’ predecessor). Furthermore, Plaintiff was more experienced than the
younger co-workers who were retrained by the company.

37, Upon information and belief, Plaintiffs job duties were assumed by a younger
individual following Plaintiff's termination from Defendants.

38. These actions as aforesaid constitute unlawful age discrimination under the
ADEA.

Second Cause of Action

Violations of the Americans with Disabilities Act, as amended ("ADA")
({1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation

 
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39. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

40. Plaintiff suffered from qualifying health conditions under the ADA (as amended)
which affected his ability (at times) to perform some daily life activities, as described supra.

41. Plaintiff requested reasonable accommodations from Defendants, including but
not limited to a medical leave and lifting accommodations.

42. In response to Plaintiffs health conditions and need for reasonable
accommodations, Plaintiff was subjected to hostility and animosity by Defendants’ management.

43. Just a few weeks following Plaintiff's medical leave and request for reasonable
accommodations, Plaintiff was terminated from Defendants.

44. Plaintiff believes and therefore avers that Defendants discriminated against
Plaintiff by terminating his employment because of: (1) his known and/or perceived health
problems; (2) his record of impairment; and/or (3) in retaliation for his requests for leave and
lifting accommodations.

45. These actions as aforesaid constitute violations of the ADA.

Third Cause of Action

Violations of the Family and Medical Leave Act ("FMLA")

(Interference and Retaliation)

46. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
| 47. Plaintiff was an eligible employee under the definitional terms of the FMLA, 29
U.S.C. § 261 1(a)@)Gi).
48, Defendants are engaged in an industry affecting commerce and employs fifty (50)

or more employees for each working day during each of the twenty (20) or more

 

 
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calendar work weeks in the current or proceeding calendar year, pursuant to 29
ULS.C.A § 2611(4)(A)Q).

49, Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a
total of twelve (12) work weeks of leave on a block or intermittent basis.

50. Defendant committed interference and retaliation violations of the FMLA by: (1)
terminating Plaintiff for requesting and/or exercising his FMLA rights and/or for
taking FMLA-qualifying leave; (2) by considering Plaintiffs FMLA leave needs
in making the decision to terminate him;

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to be prohibited from continuing to maintain its illegal policy,
practice or custom of discriminating/retaliating against employees and are to be ordered to
promulgate an effective policy against such unlawful acts and to adhere thereto;

B. Defendant is to compensate Plaintiff, reimburse Plaintiff and make Plaintiff whole
for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s
illegal actions, including but not limited to past lost earnings, future lost earnings, salary, pay
increases, bonuses, medical and other benefits, training, promotions, pension, and seniority.
Privileged Plaintiff should be accorded those benefits illegally withheld from the date he first
suffered retaliation/discrimination at the hands of Defendant until the date of verdict;

C. Plaintiff is to be awarded liquidated and/or punitive damages, as permitted by
applicable law(s) alleged asserted herein, in an amount believed by the Court or trier of fact to be
appropriate to punish Defendant for its willful, deliberate, malicious and outrageous conduct and

to deter Defendant or other employers from engaging in such misconduct in the future;

 
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D. Plaintiff is to be accorded any and all other equitable and legal relief as the Court
deems just, proper and appropriate including for emotional distress;

E, Plaintiff is to be awarded the costs and expenses of this action and reasonable
legal fees as provided by applicable federal and state law;

F. Any verdict in favor of Plaintiff is to be molded by the Court to maximize the
financial recovery available to Plaintiff in light of the caps on certain damages set’ forth in
applicable federal law; and

G. Plaintiffs claims are to receive a trial by jury to the extent allowed by applicable
law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

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paeemeeth te

Ari R‘Karpf, Esq.

3331 Street Road

Two Greenwood Square
Building 2, Ste. 128
Bensalem, PA 19020
(215) 639-0801

 

Dated: April 30, 2018

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MA NTT DESIGNATION F
_ Charles E. Thomas CIVIL ACTION
v, .
Gatehouse Media, LLC, et al. ; ‘ ‘ NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy onall defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the ovent that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus ~— Cases brought under 28 U.S.C, § 2241 through § 2255. ()
(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits, -€)

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2, ()

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos, (3
(e) Special Management — Cases that do not fall into tracks (a) through (d) that are

commonly referred to as complex and that need special or intense management by
the court, (See reverse side of this form for a detailed explanation of special

 

 

 

 

management cases.) . ()
(f} Standard Management ~ Cases that do not fall into any one of the other tracks. «)
4/30/2018 La Plaintiff
Date Attorney-at-law Attorney for
(215) 639-0801 (215) 639-4970 akarpf@karpf-law,cotti
Telephone FAX Number E-Mail Address

(Cly, G60) 10/02

 
 

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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to Indloate the cxfegory of the case foy- ‘
assignment te appropriate calendar, for the purpose of

Addsess of Pinintiff 9071 Mill Creek Road, Apt. 1501, Levittown, PA 19054
Address of Defendant:_1.75_Sully's Trail, 3rd Floor, Pittsford, NY 14534 :

Place of Accident, {nefdent or Transsotlor: Defendants place of business
: (Use Reverse Side For Additional Spaco}

 

 

Does this civil action Involves nongovernmental comporate party with any parent corporation and any publicly held corporation owning 10% or more ofits stock?

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(Attach two copies of the Disclosure Statement Form in accordance wilh Fed. RCP. TA tays YoU Noll
Does thin case involve nvultidiatrol litigation possibilities? You Not
RELATED CASE, If? ANY: .
Case Wumbor: Judge Date Terminated:

 

 

Civil cases are deemed related when yes 1s ungwered to any of the following questions;

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‘action in this court?

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4, Does this case involve the validity or infringement of @ patent already in guit or any earlier numbered case ponding or within one year proviously
terminated actlon in this court? Yae0 noo

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yeQO well

 

 

CIVIL: (Place # if ONE CATEGORY ONLY)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1, G Indenmnity Contrast, Marine Contract, and All Other Contracts 1, & Insurance Contract and Other Contracts
2. a FELA 2. @ Airplane Personal injury ,
3, O Jones Act-Personal Injury 3. O Assault, Defamation
4, O Antitrust “4, O Marine Porsonal Injury
5, @ Patend §. @ Motor Vehicle Personal Injury
6, © Labor-Management Relations 6, & Other Personal Injury (Please spoolfy)
7. & Civil Rights . O Products Liabilily
8. a Habeas Corpus ' 8, 0 Products Liability — Asbestos
9, O Securities Act(a) Cases $, O All other Diversity Cases ,
10, 0 Social Security Review Cases (Flange specity}
11, 0 All other Federal Question Cases ,
{Please specify)

 

ARBITRATION CERTIFICATION
. , (Check Appropriate Categary}
1,_ Ari R. Karpt _, counsel of record de hereby curtify:
Mf Pursuant to Local Clvii Rule $3.2, Section 3(oX2), that to the best of my knowledga and belief, the damages secaversble in this civit action cise oxeaed the aum of

$150,000.00 oxclusive of Interest and casts; ,
CO Relief otter than monetsry damages is sought. ——
4/30/2018 - _ARK2484

 

 

 

 

 

DATE: ;
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NOTE: A tral de novo will bo a tral by jury only If there has been compliance with RRC. 38,
I certify that, fo my Knowbedge, the within case Is not ‘Cage now pondiog or within ove year previously terminated actlon in this court
except as noted above,
DATE! 4/30/2018. ARK2484
Attontey-at-Law Attomey Lia} 91538

CIV, 609 (5/2912)

 
Case 2:18-cv-01811-ER Document1_ Filed 04/30/18 Page 13 of 13
JS 44 (Rev. 0617) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (S&E INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I, (a} PLAINTIFFS DEFENDANTS
THOMAS, CHARLES E. GATEHOUSE MEDIA, LLC, ET AL.
(b) County of Residence of First Listed Plaintiff Bucks County of Residence of First Listed Defendant Monroe
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONLY)

NOTE: {N LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (finn Name, Address, and Telephone Number) Attorneys d/ Known)

Karpf, Karpf & Cerutti, P-C.; 3331 Street Road, Two Greenwood Square
Suite 128, Bensalem, PA £9020; (215) 639-0801; akarpf@karpf-law.com

 

 

 

 

   
            

   
   
 

           

   

   

      

  
 
     
       

  
 
   

        

  
  

      
  

  

 
      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

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(For Diversity Cases Only) and One Box for Defendant)
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2 U.S. Government 4 Diversity Citizen of Another State 2 2 Incorporated arid Principal Place 5 5
Defendant (indicate Citizenship of Parties in Trem {Lf} of Business In Another State
Citizen or Subject ofa 3 3 Foreign Nation 6 6
Foreign Country
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0 120 Marine '* 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |’ 423 Withdrawal * 376 Qui Tam (31 USC
0 130 Miller Act ' 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a})
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0 150 Recovery of Overpayment |‘ 320 Assault, Libel & Pharmaceutical LOPE RH ELLs O 440 Antitrust
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0 196 Franchise Injury 0 385 Property Damage G 740 Railway Labor Act * 865 RSI (495(g)) D 891 Agricultural Acts
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6 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) Q 899 Administrative Procedure
0 230 Rent Lease & Ejectment 0 442 Employment 0 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
0 240 Torts to Land O 443 Housing! Sentence 26 USC 7609 Agency Decision
G 245 Tort Product Liability Accommodations & 330 General 1 950 Constitutionality of
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(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (o sot cite jurisdictional statites unless diversity):
LC OF ACTION ADA (42U8C12101); ADEA (9USC62 ); FMLA (29U8C2601)
VL CAUSE Cc Brief description of cause:
Violations of the ADA, ADEA, FMLA and the PHRA.
VII. REQUESTED IN 0 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: X Yes ‘No
VIII RELATED CASE(S) 5
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DATE SIGNATURE cep RECORD
4/30/2018 cererencn
FOR OFFICE USE ONLY a i?

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

   

 
